


  PER CURIAM.
 

  Widtson Gabriel (“the defendant”) appeals the denial of his motion to correct sentence to reflect jail time credit. We affirm without prejudice.
 

  Here, the defendant’s motion states only that he was arrested on August 1, 2008 and was released on probation on October 16, 2008. This is insufficient to state a claim for jail time credit. Fla. R.Crim. P. 3.800. However, the defendant should be given an opportunity to amend his motion.
  
   See Spera v. State,
  
  971 So.2d 754 (Fla.2007).
 

  Accordingly, we affirm the denial of the defendant’s motion because it is legally insufficient.
 

  Affirmed.
 
